     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 1 of 12




 1    Miles N. Clark, Esq.                          COHEN-JOHNSON, LLC
      Nevada Bar No. 13848                          H. Stan Johnson, Esq. (SBN: 0265)
 2    Matthew I. Knepper, Esq.                      (sjohnson@cohenjohnson.com)
      Nevada Bar No. 12796                          375 E. Warm Springs Road, Suite 104
 3
      KNEPPER & CLARK LLC                           Las Vegas, Nevada 89119
 4    5510 So. Fort Apache Rd, Suite 30             Telephone : (702) 823-2500
      Las Vegas, NV 89148                           Facsimile : (702) 823-3400
 5    Phone: (702) 856-7430
      Fax: (702) 447-8048                           QUINN EMANUEL URQUHART &
 6    Email: Miles.Clark@knepperclark.com           SULLIVAN, LLP
                                                    Shon Morgan (Pro Hac Vice)
 7                                                  (shonmorgan@quinnemanuel.com)
      Michael F. Ram (Pro Hac Vice)
 8    Marie N. Appel (Pro Hac Vice)                 John W. Baumann (Pro Hac Vice)
      MORGAN & MORGAN COMPLEX                       (jackbaumann@quinnemanuel.com)
 9    LITIGATION GROUP                              865 South Figueroa Street, 10th Floor
      711 Van Ness Avenue, Suite 500 San            Los Angeles, California 90017
10                                                  Telephone: (213) 443-3000
      Francisco, CA 94102
      Telephone: (415) 358-6913                     Facsimile: (213) 443-3100
11
      Facsimile: (415) 358-6293
12    Email: MRam@forthepeople.com                  Cristina Henriquez (Pro Hac Vice)
      Email: MAppel@forthepeople.com                (cristinahenriquez@quinnemanuel.com)
13                                                  555 Twin Dolphin Drive, 5th Floor
      Benjamin R. Osborn (Pro Hac Vice)             Redwood Shores, California 94065
14                                                  Telephone: (650) 801-5000
      102 Bergen Street Brooklyn, NY 11201
      Telephone: (347) 645-0464                     Facsimile: (650) 801-5000
15
      Email: Ben@benosbornlaw.com
16                                                  Attorneys for ANCESTRY.COM
      Counsel for Plaintiffs and the Proposed       OPERATIONS INC., ANCESTRY.COM
17    Class                                         INC., and ANCESTRY.COM LLC
18                           UNITED STATES DISTRICT COURT

19                                   DISTRICT OF NEVADA

20 ANTHONY SESSA and MARK SESSA, on                Case No.: 2:20-cv-02292
   behalf of themselves and all others similarly
21 situated,                                       STIPULATION AND [PROPOSED]
                                                   ORDER GOVERNING THE
22                 Plaintiffs,                     DISCOVERY OF ELECTRONICALLY
                                                   STORED INFORMATION
23
     v.
24
   ANCESTRY.COM OPERATIONS INC., a
25 Virginia Corporation; ANCESTRY.COM, INC.,
   a Delaware Corporation; ANCESTRY.COM
26 LLC, a Delaware Limited Liability Company;
27 and DOES 1 through 50, inclusive,

28                 Defendants.


          STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                      STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 2 of 12




 1          IT IS HEREBY STIPULATED by and between the parties in this action, by and through

 2 their counsel of record, as follows:

 3          WHEREAS, documents and information have been and may be sought, produced or

 4 exhibited by and among the parties to this action.

 5          WHEREFORE, the parties seek an Order of this Court entering the parties’ agreements on

 6 discovery of electronically stored information, as reflected in the following terms:

 7          1.     This stipulation shall govern document production during discovery in the above

 8 captioned action.

 9                                                SCOPE

10          1.     The parties shall meet and confer to try to resolve any disputes that may arise under

11 this Protocol prior to seeking assistance from the Court.

12          2.     The parties acknowledge that they have an obligation to take reasonable steps to

13 preserve potentially discoverable materials. The parties agree that preservation of potentially

14 relevant materials will be reasonable and proportionate.

15          3.     The parties do not waive any objections to the production, discoverability, or

16 confidentiality of data or any other discovery materials, including without limitation, objections

17 regarding the burden, overbreadth, cost-sharing, or relevance of document requests related to data

18 in a form specified in this Protocol.

19          4.     Nothing herein shall alter the parties’ respective responsibility to comply with the

20 applicable Federal Rules of Civil Procedure and any applicable Local Rules regarding the

21 collection or production of data. This Protocol shall neither enlarge, reduce, nor otherwise affect

22 the scope of discovery in this litigation as imposed by the Court’s orders nor imply that discovery

23 produced under the terms of this Protocol is properly discoverable, relevant, or admissible in the

24 Action or in any other litigation.

25          5.     In the event the Receiving Party, including any Counsel, Professional Vendor,

26 Expert or other party engaged by the Receiving Party in this Action, experiences a data breach, it
27 shall (to the extent permitted by law) notify the Producing Party as soon as reasonably practicable

28 of the same, and shall reasonably cooperate with the Producing Party to address and remedy the
                                                    -1-
        STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                     STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 3 of 12




 1 breach, subject to the Producing Party’s reasonable instructions. Nothing herein shall constitute a

 2 waiver of legal rights and defenses regarding the protection of information from unauthorized

 3 disclosure.

 4                                           DEFINITIONS

 5          1.      “Document” is defined to be synonymous in meaning and equal in scope to the

 6 usage of the term in the Federal Rules of Civil Procedure. For avoidance of doubt, the term

 7 “document” shall include hard copy documents and electronically stored information.

 8          2.      “Hard copy document” means a document that was maintained in paper or other

 9 tangible form.

10          3.      “Document family” means a collection of pages or files maintained together

11 constituting a logical single communication of information but consisting of more than a single

12 stand-alone record. Examples include a fax cover, the faxed letter, and an attachment to the

13 letter—the fax cover being the “parent,” and the letter and attachment being a “child,” or an email

14 and associated attachments, or a presentation with embedded files.

15          4.      “Custodian” shall mean any individual of a producing party identified as likely

16 having possession, custody, or control of potentially relevant documents.

17          5.      “Custodial data source” means any data source used for business purposes in or on

18 which custodian may store potentially relevant documents including, but not limited to,

19 computers, laptops, tablets, and/or mobile devices regularly used for business purposes, email

20 (whether stored locally or centrally), shared network servers, shared or individual network folders,

21 or cloud storage systems.

22          6.      “Non-custodial data source” means any data source that is not kept or maintained

23 by any particular custodian but which may contain relevant documents, including data sources

24 used by any department, business unit, or division of a producing party, and shared storage

25 systems that may contain relevant documents.

26          7.      “Metadata” means: (i) information embedded in or associated with a file that is not
27 ordinarily viewable or printable from the application that generated, edited, or modified such

28 native file which describes the characteristics, origins, custody, usage, and/or validity of the
                                                    -2-
        STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                     STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 4 of 12




 1 electronic file; and/or (ii) information generated automatically by the operation of a computer or

 2 other information technology system when a native file is created, modified, transmitted, deleted,

 3 or otherwise manipulated by a user of such system.

 4          8.     “Search term” means a word or a combination of words or phrases designed to

 5 capture potentially relevant documents and may include, depending on a data source’s capabilities,

 6 strings of words or phrases joined by proximity and Boolean connectors or other syntax.

 7          9.     “TAR” (technology-assisted review) means a cooperative machine learning process

 8 for prioritizing or coding a collection of documents.

 9          10.    “Structured data” means data that resides in a fixed field within a record or file, or

10 stored in a structured format, such as databases (such as SAP, JD Edwards, Microsoft Dynamics,

11 Oracle, SQL, Microsoft Access) or data sets, according to specific form and content rules as

12 defined by each field of the database.

13                                     PRODUCTION FORMAT

14          1.     To the extent feasible, productions will comply with Exhibit A: Metadata Fields for

15 Electronic Discovery, as well as the below parameters.

16          2.     The parties will produce documents via secure file transfer protocols (e.g., FTP) or

17 similar secure electronic transmission. If a producing party encrypts or “locks” the production, the

18 producing party shall send, under separate cover or email, an explanation of how to decrypt the

19 files.

20          3.     Electronically stored documents will be produced as searchable PDF files or

21 searchable single-page TIFF files (either extracted text or OCR).          Documents produced as

22 searchable PDF files or searchable single-page TIFF files shall correspond to an authentic and

23 complete document (including any concealable information such as formulas or comments)

24 generated by conversion directly from the original native electronic document and shall be

25 accompanied by data load files for loading to Concordance, Summation, or other databases. When

26 it is impracticable for an electronic document to be produced as a PDF or TIFF file, including
27 because any information contained in the document would be omitted, distorted, reorganized, or

28 otherwise made more difficult to read or understand than the document’s native format, a party
                                                    -3-
        STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                     STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 5 of 12




 1 may produce the document in its native format. When it is impracticable for an electronic

 2 document (such as a spreadsheet, presentation, or audio file) to be produced as a TIFF file,

 3 including because any information contained in the document would be omitted, distorted,

 4 reorganized, or otherwise made more difficult to read or understand than the document’s native

 5 format, a party may produce the document in its native format. Any document or file that is

 6 produced in native format must have a corresponding Bates-stamped placeholder TIFF image

 7 indicating that a native file has been provided.

 8          4.     TIFF images should show any and all text and images which would be visible to

 9 the reader using the native software that created the document. For example, TIFF images of

10 email messages should include the BCC line. All other documents or data must be processed to

11 show readily available hidden content, tracked changes or edits, comments, notes, and other

12 similar information for TIFF/JPG images, or alternatively such content must be viewable in the

13 native file.

14          5.     A party may request that specific documents or file types be produced in native

15 format by specifically identifying to the producing party the Bates number of the document sought

16 and the basis for the request for production in native format. A party shall not make unduly

17 burdensome and unreasonable requests for production of documents in native format, and a party

18 shall not unreasonably refuse a request for the production of documents in native format.

19          6.     Bates Numbering. All images must be assigned a unique and sequential Bates

20 Number. The confidentiality designation (if any) corresponding to the confidentiality designations

21 defined in the Protective Order shall appear on each page.

22          7.     Parent-Child Relationships.        Responsive non-privileged electronic documents

23 attached to an e-mail or embedded within an electronic document not produced in its native form

24 are to be produced sequentially immediately after the parent document to preserve the parent-child

25 relationship between attachments, enclosures, embedded files, and/or exhibits to any parent

26 document. The child-document should be consecutively produced immediately after the parent-
27 document.      If a parent or child is omitted from production as privileged or otherwise, the

28
                                                      -4-
        STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                     STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 6 of 12




 1 producing party shall produce in place of the document a single-TIFF placeholder image

 2 indicating the withholding of the document and the reason for the withholding.

 3          8.     De-Duplication. If a producing party elects to de-duplicate, the producing party

 4 shall identify duplicates by the MD5 hash algorithm (or a reasonably equivalent alternative) to

 5 create and compare hash values for exact duplicates only. Attachments should not be eliminated

 6 as duplicates for purposes of production, unless the parent email and all attachments are also

 7 duplicates. An email that includes content in the BCC or other blind copy field should not be

 8 treated as a duplicate of an email that does not include content in those fields, even if all remaining

 9 content in the email is identical. Custodian-specific de-duplication may be applied to email files

10 prior to upload to the review platform. Any other de-duplication should be done across the entire

11 collection (i.e., global level) and the “All Custodian” field should list each custodian, separated by

12 a semicolon, who was a source of that document. The “Custodian” field shall represent the

13 custodian of the document uploaded to the review platform.

14          9.     Other De-Duplication Methods. Use of these technologies to reduce the reviewable

15 collection or production, other than as described within this Protocol, requires the producing party

16 to meet and confer with the requesting party.

17          10.    E-mail Thread Suppression. Each party may also de-duplicate emails in such a

18 way as to eliminate earlier or incomplete chains of emails and produce only the most complete

19 iteration of an email chain and any unique attachments associated with the email set, provided that

20 none of the earlier emails in the chain contained attachments and the email chain does not exclude

21 any email conversations that split off from the primary thread. In other words, regardless of the

22 existence of a more complete, later email, all emails that contain attachments must also be

23 produced and all unique email chains should be produced.

24          11.    Redacted Documents. Documents may be redacted to omit privileged information,

25 personal identifying information (PII), information protected or required to be redacted by law,

26 irrelevant information, and information within the scope of Federal Rule of Civil Procedure 5.2.
27          12.    Metadata and Text Files. To the extent feasible, all ESI should be produced with a

28 delimited, database load file that contains the metadata fields listed in Exhibit A hereto, to the
                                                     -5-
        STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                     STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 7 of 12




 1 extent captured at the time of the collection. To the extent that metadata does not exist or is not

 2 reasonably accessible or available because it was overwritten for any documents produced,

 3 nothing in this Protocol shall require any party to extract, capture, collect, or produce such data.

 4 An .opt image cross-reference file should also be provided for all TIFF images. The file’s

 5 extracted text shall also be produced, and OCR shall only be provided when a file requires

 6 redaction.

 7          13.     Corrupted or Unreadable Files. Each party may exclude certain files that are

 8 corrupted or not readable.

 9          14.     System Files. Each party may exclude certain files and folders that are reasonably

10 identified as system files and do not contain user-created files.

11          15.     Third-Party-Produced Material. Notwithstanding anything to the contrary herein,

12 any party that produces documents produced to it by a third party, such as in response to a

13 subpoena, may produce such documents in the format in which they were produced by the third

14 party.

15          16.     Color. Documents containing color need not be originally produced in color. If an

16 original document contains color useful to understand the meaning or context of the document,

17 however, the producing party shall honor reasonable requests for either the production of an

18 original document for inspection and copying, or production of a color image of the document.

19 The producing party shall have the option of responding by producing a native-file version of the

20 document. Nothing in this Order shall preclude a producing party from objecting to such requests

21 as unreasonable in number, timing, or scope, provided that a producing party shall not object if the

22 document as originally produced is illegible or difficult to read.

23          17.     Hard Copy Documents. Documents maintained in a party’s ordinary course of

24 business as hard copy documents should be scanned in a manner so as to retain the original

25 organization of the hard copy documents. Hard copy documents should be scanned as TIFF

26 images with an .opt image cross-reference file and a delimited database load file (i.e., .dat). The
27 database load file should contain the fields outlined in Exhibit A. Hard copy documents should be

28 physically unitized.     If a producing party reasonably believes that production of hard copy
                                                     -6-
        STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                     STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 8 of 12




 1 documents is unduly burdensome, the producing party shall seek to meet and confer in good faith

 2 with the requesting party regarding content, volume, and related issues before any production of

 3 hard copy documents.

 4          18.    Original Language. All documents shall be produced in their original language.

 5 All extracted text must be produced in a Unicode compliant format in the load file. Nothing in

 6 this agreement shall require a producing party to prepare a translation, certified or otherwise, for

 7 foreign language documents that are produced in discovery.

 8                        CUSTODIANS AND SEARCH METHODOLOGY

 9          1.     Structured Data Sources. The producing party may opt to produce relevant and

10 responsive information from databases by querying the database for discoverable information and

11 generating a report in a reasonably usable and exportable electronic format (e.g., in Microsoft

12 Excel™ or .csv format). The parties shall negotiate search methodology, and meet and confer as

13 needed, to be applied to structured data sources. Parties shall agree to search terms to be applied

14 before the producing party collects and produces documents from structured data sources.

15          2.     Determination of Custodians. The parties shall attempt, through a process of

16 cooperative negotiation, to reach agreement on the appropriate number of and identities of

17 custodians. The producing party shall make good faith efforts to provide reasonable information

18 concerning potential custodians as necessary to facilitate these discussions.

19          3.     Custodial and Non-Custodial Data Source Collection. The parties shall negotiate,

20 and meet and confer as needed, concerning the search methodologies to be applied to custodial

21 and non-custodial data sources. Parties shall agree to search terms to be applied before the

22 producing party collects and produces documents from these data sources.

23          4.     Cost-Sharing. The parties also reserve the right to seek and oppose cost-sharing in

24 connection with the collection and production of data that is not reasonably accessible.

25                                   ASSERTIONS OF PRIVILEGE

26          1.     Pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure, the parties
27 hereby agree that a producing party may redact or withhold a document if it is protected by

28 attorney-client privilege, the work-product doctrine, or any other reasonably applicable privilege
                                                    -7-
        STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                     STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 9 of 12




 1 from disclosure. Any party that withholds otherwise discoverable information (including by

 2 redaction) by claiming that the information is privileged, must produce a log in compliance with

 3 Federal Rule of Civil Procedure 26(b)(5). Communications with outside counsel dated after the

 4 filing of the first complaint in this Action that are protected by attorney-client or work product

 5 privilege do not need to be logged.

 6          2.      Should a receiving party be unable to ascertain whether or not a document

 7 contained on the log is privileged or have reason to believe a particular entry on the log is

 8 responsive and does not reflect privileged information, the parties shall meet and confer as needed

 9 to attempt to cooperatively resolve the dispute.

10          3.      Privilege logs shall be produced within thirty days after the relevant production.

11          4.      Nothing in this Protocol shall be interpreted to require disclosure of relevant

12 information or data that is protected by the attorney-client privilege, work-product doctrine, or is

13 prohibited from disclosure under any law, regulation, rule, court order, or any other reasonably

14 applicable privilege or protection. The parties do not waive any objections to the production,

15 discoverability, or confidentiality of data or any other discovery materials, including, without

16 limitation, objections regarding the burden, overbreadth, cost-sharing, or relevance of document

17 requests related to data in a form specified in this Protocol.

18          5.      To the extent that any image file contains information subject to a claim of

19 privilege or any other applicable protection that requires redaction, the portion of the redacted text

20 shall be clearly identified on the face of the TIFF image, either by masking the redacted content

21 with electronic highlighting in black or through the use of redaction boxes. To the extent a

22 document is redacted, OCR text files for such a document shall not contain text for redacted

23 portions. The original unredacted native file shall be preserved pending conclusion of the action.

24 To the extent any native file contains information subject to a claim of privilege or any other

25 applicable protection that requires redactions, the producing party shall either apply the redactions

26 directly on the native file itself or convert that file to TIFF format and produce it with the
27 necessary redactions.

28
                                                      -8-
         STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                      STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 10 of 12




 1                                       MODIFICATION
 2          1.      This Order may be modified by agreement of the parties or by the Court for good

 3 cause shown.

 4 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 5

 6 DATED this 7th day of June, 2022

 7 KNEPPER & CLARK LLC                           COHEN-JOHNSON, LLC

 8

 9    By: /s/ Miles N. Clark                      By /s/ H. Stan Johnson
          Miles N. Clark                            H. Stan Johnson, Esq.
10        Nevada Bar No. 13848                      Nevada Bar No. 0265
          5510 So. Fort Apache Rd., Suite 30        375 E. Warm Springs Road, Suite 104
11
          Las Vegas, NV 89148                       Las Vegas, Nevada 89119
12
          Attorneys for Plaintiffs                   Attorneys for Defendants Ancestry.com
13                                                   Operations Inc., Ancestry.com Inc., and
                                                     Ancestry.com LLC
14

15
                                                ORDER
16
                                         IT IS SO ORDERED:
17

18
                                         ________________________________________________
19                                       HON. BRENDA WEKSLER
                                         UNITED STATES MAGISTRATE JUDGE
20

21                                               June 8, 2022
                                         DATED: ________________________________________
22

23

24

25

26
27

28
                                                  -9-
         STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                      STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 11 of 12




 1                                               Exhibit A

 2                             Metadata Fields for Electronic Discovery

 3                                                Field                       Non-Email      Emails
        Field Name          Description                      Field Value
                                                  Type                        Documents
 4
                        Starting Bates
       ProdBegDoc                                 Text           255               X            X
 5                      (including prefix)
                        Ending Bates
       ProdEndDoc                                 Text           255               X            X
 6                      (including prefix)
                        Starting Bates
 7                      number of first
      ProdBegAttach1                              Text           255               X            X
 8                      attachment (including
                        prefix), if applicable
 9                      Ending Bates number
                        of last attachment
10    ProdEndAttach                               Text           255               X            X
                        (including prefix), if
                        applicable
11
                        Custodian or Source,
                                                  Long
12      Custodian       formatted Last, First                 Unlimited            X            X
                                                  Text
                        or ABC Company
13                      Other custodians
                        whose files contained
14                                                Long
       All Custodian    a particular document                 Unlimited            X            X
                                                  Text
                        eliminated through
15
                        de-duplication
16                      Author of Document,       Long
            Author                                            Unlimited                         X
                        formatted Last, First2    Text
17                      Recipient, formatted
                                                 Multiple
        Email_To        Last Name, First                      Unlimited                         X
18                                               Choice
                        Name
19                      Author of email
                                                 Single
       Email_From       formatted, Last                       Unlimited                         X
                                                 Choice
20                      Name, First Name
                        Carbon Copy
21                      Recipients, formatted    Multiple
        Email_CC                                              Unlimited                         X
                        Last Name, First         Choice
22
                        Name
23                      Blind Carbon Copy
                        Recipients, formatted    Multiple
        Email_BCC                                             Unlimited                         X
24                      Last Name, First         Choice
                        Name
25

26      1
         Any and all attachments shall be produced sequentially.
        2
27       Data will be formatted in the manners identified herein to the extent information needed for
   such formatting is readily available.
28
                                                   -10-
         STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                      STORED INFORMATION
     Case 2:20-cv-02292-GMN-BNW Document 73
                                         71 Filed 06/08/22
                                                  06/07/22 Page 12 of 12




 1                                               Field                  Non-Email   Emails
        Field Name          Description                   Field Value
                                                 Type                   Documents
 2                      Date Email was sent,
 3       DateSent       formatted                Date    MM/DD/YYYY                   X
                        MM/DD/YYYY
 4       TimeSent       Time Email was sent      Text         10                      X
                                                 Long
 5       Subject        Subject Line of Email             Unlimited                   X
                                                 Text
                        Current File Path
 6                                               Long
        NativeLink      location to the Native            Unlimited        X          X
                                                 Text
 7                      File
                        Current File Path
                                                 Long
 8       TextLink       location to the .txt              Unlimited        X          X
                                                 Text
                        File
 9                      Name of Original
        File Name                                Text        255           X          X
10                      File
          Hash          MD5 Hash Value           Text        255           X          X
11                      Document contains
        Redaction                                Text        255           X          X
                        redaction(s)
12                      Confidential Status of
      Confidentiality                            Text        255           X          X
                        Document
13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                 -11-
         STIPULATION AND [PROPOSED] ORDER GOVERNING THE DISCOVERY OF ELECTRONICALLY
                                      STORED INFORMATION
